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   Case 3:05-cr-03007-MWB-CJW                  Document 169   Filed 03/15/06   Page 1 of 7
Case 3:05-cr-03007-MWB-CJW   Document 169   Filed 03/15/06   Page 2 of 7
Case 3:05-cr-03007-MWB-CJW   Document 169   Filed 03/15/06   Page 3 of 7
Case 3:05-cr-03007-MWB-CJW   Document 169   Filed 03/15/06   Page 4 of 7
Case 3:05-cr-03007-MWB-CJW   Document 169   Filed 03/15/06   Page 5 of 7
Case 3:05-cr-03007-MWB-CJW   Document 169   Filed 03/15/06   Page 6 of 7
Case 3:05-cr-03007-MWB-CJW   Document 169   Filed 03/15/06   Page 7 of 7
